        Case 1:21-cr-00024-TNM Document 42-2 Filed 08/25/21 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                         Crim. Action No. 21-24-1 (EGS)

 ROBERT GIESWEIN,

                     Defendant.




      MR. GIESWEIN’S MEMORANDUM IN SUPPORT OF PROPOSED ORDER
       Consistent with the Court’s ruling at the August 11, 2021 status hearing in

this matter, Mr. Gieswein has today filed a proposed order consistent with the Court’s

August 11, 2021 oral order, through undersigned counsel. The government has not

joined in the proposal. Robert Gieswein, through undersigned counsel, respectfully

submits this memorandum to provide the Court with the background for the defense

proposal.


       On August 11, having considered the facts and arguments set forth in the

government’s memorandum regarding discovery (ECF 26-1), the defendant’s

opposition to the government’s July 29, 2021 motion to exclude time under the Speedy

Trial Act (ECF 30), the government’s reply to that opposition (ECF 33), and the

matters discussed at a status hearing held on August 11, 2021, the Court stated that

“defense counsel should be on equal footing with the government. The government

has an entity that is assisting it with compiling, analyzing, compartmentalizing

discovery.” Tr. of Aug. 11, 2021 Hr’g, at 28. Referring to an earlier statement that the
        Case 1:21-cr-00024-TNM Document 42-2 Filed 08/25/21 Page 2 of 6




Court would issue an order requiring the government to fund “some sort of program

or fund that entity that accomplishes the same objectives as Deloitte,” id. at 6, the

Court continued: “And what the Court did was to require the government to fund

such an entity for purposes of enabling defense counsel to do exactly what the

government is doing, to receive, to analyze, et cetera.” Id. at 28. The Court further

ordered the parties to submit language “clearly stat[ing . . .] that the government

fund that entity by no later than whatever 30 days from today is and to address the

Court’s concerns.” Id. at 28-29. And the Court added that its desire was “to get the

entity in place first. I mean that would be a major accomplishment and that’s what

the Court will do.” Id. at 29.

      Following the August 11 hearing, undersigned counsel conferred with counsel

for the government, particularly Emily A. Miller, the Capitol Breach Discovery

Coordinator for the government, who was present at the August 11 hearing, and with

leadership in the Federal Public Defender for the District of Columbia (DC FPD) and

Defender Services Office (DSO) electronic discovery experts, including Sean

Broderick, the National Litigation Support Administrator for the Administrative

Office of the U.S. Courts, DSO. Undersigned counsel understands that other, related

discussions took place among the representatives of the DC FPD, the DSO, and the

government.

      As Mr. Gieswein noted in a motion to continue filed on August 18, ECF. No. 39

(which the Court granted), these discussions were productive. As of that date, the

government had already made certain commitments related to the Court’s order,


                                         2
       Case 1:21-cr-00024-TNM Document 42-2 Filed 08/25/21 Page 3 of 6




listed in the motion, and sought another week to work through contracting and

technical details raised by the Court’s order. Id. at 2-6.

      Undersigned counsel understands from the government, the DC FPD, and the

DSO that those conversations did continue, including through last weekend, and that

they were productive.

      Indeed, the government’s Memorandum Regarding Status of Discovery as of

August 23, 2021, ECF No. 40 (“Aug. 23 Mem. re Discovery”), filed today in this and

other cases, reflects that progress. In particular, the memorandum details progress

in the development of a concrete plan for the “government to fund” systems that will

“enable[e] defense counsel to do exactly what the government is doing, to receive, to

analyze, et cetera,” as this Court ordered on August 11. It appears that there is firm

agreement that the government will fund at least most of the cost of providing the

defense with licensed access to voluminous documents on wholly separate “defense

Relativity workspace” (via the vendor Deloitte), and defense access to at least much

of voluminous video evidence via licensed access to an evidence.com “instance” (via

Axon Enterprise, Inc. (“Axon”)). See Aug. 23 Mem. re Discovery at 3-5, 7-9.

      Further, negotiations with Axon to modify its contract with the government

have advanced quickly. The government “expect[s that its] contract with Axon will be

modified expeditiously.” Id. at 8. As such, the government is already in position to

estimate that will be share with the “FPD’s evidence.com instance within




                                            3
       Case 1:21-cr-00024-TNM Document 42-2 Filed 08/25/21 Page 4 of 6




approximately the next two weeks.” 1 And it projects that it will “start rolling

productions from 7,000 hours of footage that the US Capitol Police provided to the

FBI within approximately the next four weeks.” Id. at 9.

      The government is also working on modifying a contract with Deloitte that will

allow it to purchase and issue licenses to provide to the defense, and to other

defendants’ counsel. See id. at 4-5. The modification will eventually permit defense

teams to access a “wholly separate defense Relativity workspace” on their own that

contains what the government has in its Relativity workspace. See id. at 5-6.

      In the meantime, the government commits to making productions to the

defense from Relativity in the coming weeks using disclosure systems already in use

(including USAfx). Id. at 5. This is welcome news. But it does not compensate for the

fact that the government offers no projection for when those negotiations with

Deloitte can be completed. This leaves the defense without a projection of when the

defense will have its own access to everything the government puts into Relativity to

allow the defense to conduct independent review, and to search for exculpatory

material.




       1If  undersigned counsel understands correctly, the government suggests that
it will not necessarily disclose these materials to the defense in two weeks even if that
is technologically and contractually feasible at that point. The government states that
“must take steps” to adequately protect this discovery before it can share it with the
FPD, citing the Crime Victims Rights Act. Aug. 23. Mem. re Discovery at 8-9.
However, that is not a technical or contracting issue related to this Court’s August 11
oral order, but rather one of law subject to negotiation or litigation of a protective
order.
                                           4
          Case 1:21-cr-00024-TNM Document 42-2 Filed 08/25/21 Page 5 of 6




      Not being able to independently search for exculpatory material is a significant

handicap to defendants, like Mr. Gieswein, who are preparing for trial. Further, it is

undeniable that the significant progress the government has made in the last two

weeks (especially the last week) follows on the heels of this Court’s August 11 order,

which imposed a deadline for the government to “fund [an entity] for purposes of

enabling defense counsel to do exactly what the government is doing, to receive, to

analyze, et cetera.” Tr. of Aug. 11, 2021 Hr’g, at 28.

      The significance of Mr. Gieswein’s need for discovery, the government’s

obligations to make it available, the fact that it has been almost eight months since

January 6, and the progress made in the last two weeks in the wake of the Court’s

August 11 oral order all support entering the defense’s proposed order. This is the

best way to ensure that progress continues at the same expeditious pace that it has

since August 11.

      In conversations with the undersigned counsel since August 11, the

government has suggested that remaining details to be negotiated, contracting

issues, and/or bureaucratic complications inherent in obtaining approval for large

contracts, make it impossible for the government to finalize its contract modification

with Deloitte by September 10. Again, to date, the government has not provided

undersigned counsel or the Court with even an estimate of when this would be

possible. 2 Still, considering the progress made in the last week especially, the defense


      2 On the other hand, the government’s filing of this evening, a motion to
reconsider, seems to suggest that it actually may be possible for the government to
achieve this by September 10. See Gov. Motion for Reconsideration of Order
                                           5
       Case 1:21-cr-00024-TNM Document 42-2 Filed 08/25/21 Page 6 of 6




proposed order contemplates giving the government additional time to satisfy the

Court’s order, that is, until Thursday, September 16, the day before the next

scheduled status conference in this case.

      If the Court declines to enter the defense’s proposed order, the defense

respectfully requests that the Court impose other deadlines, and at least a

requirement for the government to update the Court on dates certain, and no later

than on September 16.

      Respectfully submitted on August 25, 2021.

                                                ROBERT GIESWEIN
                                                by counsel:

                                                Geremy C. Kamens
                                                Federal Public Defender for the
                                                Eastern District of Virginia

                                                by:________s/_______________
                                                Ann Mason Rigby
                                                DC Bar No. 491902
                                                Assistant Federal Public Defender
                                                1650 King Street, Suite 500
                                                Alexandria, Virginia 22314
                                                Telephone: (703) 600-0869
                                                Facsimile: (703) 600-0880
                                                ann_rigby@fd.org




Requiring Government to Fund Defense Discovery Vendor by September 10, 2021,
ECF No. 41, at 6 (“We expect to have made considerable if not complete progress by
September 10, 2021, and any failure to do so will be the result of currently unknown
facts or to the need for on-going discussions about technical and contractual details
required to ensure that defense access is meaningful.”).
                                            6
